Case: 1:16-cr-00009-WAL-EAH           Document #: 1143        Filed: 11/22/17     Page 1 of 24




                      DISTRICT COURT OF THE VIRGIN ISLANDS
                              DIVISION OF ST. CROIX

UNITED STATES OF AMERICA                  )
                                          )
            v.                            )                Criminal No. 2016-0009
                                          )
ANIBAL A. VEGA-ARIZMENDI, et al.          )
                                          )
                  Defendants.             )
__________________________________________)

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        For Defendant Anibal A. Vega-Arizmendi

                                MEMORANDUM OPINION

Lewis, Chief Judge

       THIS MATTER comes before the Court on Defendant Anibal Vega-Arizmendi’s

“Renewed Rule 29 Motion for Judgment of Acquittal,” filed on July 18, 2017 (Dkt. No. 1067); his

“Revised Rule 29 Motion for Judgment of Acquittal,” also filed on July 18, 2017 (Dkt. No. 1068);1

and the “Government’s Response to Revised Rule 29 Motion,” filed on July 31, 2017 (Dkt. No.

1082). For the reasons set forth below, the Court will grant Defendant Anibal Vega-Arizmendi’s

Motions as to Count 5 and deny them as to Counts 1, 4, and 6 of the Indictment.




1
 Defendant Anibal Vega-Arizmendi’s “Renewed Rule 29 Motion for Judgment of Acquittal” and
his “Revised Rule 29 Motion for Judgment of Acquittal” are two separate motions. The Court has
considered the arguments in each Motion.
Case: 1:16-cr-00009-WAL-EAH            Document #: 1143        Filed: 11/22/17     Page 2 of 24




                                      I.   BACKGROUND

       On May 10, 2016, the Grand Jury returned an Indictment against Defendant Anibal Vega-

Arizmendi and other individuals for various offenses relating to an alleged drug trafficking

organization. The Grand Jury returned a Superseding Indictment on August 23, 2016, charging

additional individuals. The Superseding Indictment states that Defendant Anibal Vega-Arizmendi

was part of a drug trafficking organization that operated in Florida, Puerto Rico, St. Croix and

other parts of the Caribbean. (Dkt. No. 190 at 2). According to the Indictment, Defendant Anibal

Vega-Arizmendi and others “traveled from Puerto Rico to St. Croix, and elsewhere, to participate

in the mid-sea retrieval of drugs” and that Defendant Anibal Vega-Arizmendi would occasionally

function as a boat captain. (Id.). As against Defendant Anibal Vega-Arizmendi, the Indictment

charges one count of conspiracy to possess controlled substances with intent to distribute (Count

1) and three counts of attempted possession of cocaine with intent to distribute (Counts 4, 5, and

6).

       Jury selection began on May 2, 2017, opening statements began on May 15, 2017,

testimony began on May 22, 2017, and the Government rested on June 22, 2017. After the

Government rested, each of the six Defendants who proceeded to trial made a motion for acquittal

pursuant to Rule 29 of the Federal Rules of Criminal Procedure. The Court heard arguments on

the motions for acquittal on June 22 and 23. 2 On June 27, 2017, the Court, ruling from the bench,

granted Defendant Anibal Vega-Arizmendi’s motion for acquittal on Count 5, and denied the




2
  Defendant Anibal Vega-Arizmendi also filed a “Memorandum in Support [of] Motion for
Judgment of Acquittal” on June 24, 2017. (Dkt. No. 1010).


                                                2
Case: 1:16-cr-00009-WAL-EAH               Document #: 1143         Filed: 11/22/17      Page 3 of 24




motion as to Counts 1, 4, and 6. 3 The Court reserved for a later time its articulation of the rationale

for the ruling. The trial concluded on July 7, 2017, after the jury was unable to reach a unanimous

verdict. The Court declared a mistrial based on manifest necessity, and the jury was discharged.

                                    II.   LEGAL STANDARDS

        Rule 29 of the Federal Rules of Criminal Procedure provides that “the Court on the

defendant’s motion must enter a judgment of acquittal of any offense for which the evidence is

insufficient to sustain a conviction.” Fed. R. Crim. P. 29(a). Pursuant to Rule 29(c), a “defendant

may move for a judgment of acquittal, or renew such a motion, within 14 days after a guilty verdict

or after the court discharges the jury, whichever is later.” Fed. R. Crim. P. 29(c)(1). Rule 29

expressly provides that “[i]f the jury has failed to return a verdict, the court may enter a judgment

of acquittal.” Id. For a Rule 29 motion, a court must determine “whether, after viewing the

evidence in the light most favorable to the prosecution, any rational trier of fact could have found

the essential elements of the crime beyond a reasonable doubt.” United States v. McIntyre, 612 F.

App’x 77, 78 (3d Cir. 2015) (quoting United States v. Caraballo-Rodriguez, 726 F.3d 418, 424-

25 (3d Cir. 2013)) (quotations omitted) (emphasis in original); see also United States v. Smith, 294

F.3d 473, 476 (3d Cir. 2002) (“In reviewing a Fed. R. Crim. P. 29 post-verdict motion for judgment

of acquittal, a district court must ‘review the record in the light most favorable to the prosecution

to determine whether any rational trier of fact could have found proof of guilt beyond a reasonable

doubt based on the available evidence.’” (quoting United States v. Wolfe, 245 F.3d 257, 262 (3d

Cir. 2001))).




3
 With regard to the other Defendants’ motions for acquittal, the Court granted the motions on
Count 2 as to Defendant Jose Hodge and Counts 5 and 6 as to Defendant Omy Gutierrez-Calderon,
and denied the motions in all other respects.
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Case: 1:16-cr-00009-WAL-EAH              Document #: 1143         Filed: 11/22/17      Page 4 of 24




       A defendant “challenging the sufficiency of the evidence bears a heavy burden,” United

States v. Donna, 366 F. App’x 441, 450 (3d Cir. 2010), and an insufficiency finding should be

“confined to cases where the prosecution’s failure is clear,” United States v. Brodie, 403 F.3d 123,

133 (3d Cir. 2005) (quoting Smith, 294 F.3d at 477). It is well-established that, on a Rule 29

motion, evidence should not be viewed in a vacuum but in relation to the totality of the evidence

elicited in a case. See United States v. Pavulak, 700 F.3d 651, 668 (3d Cir. 2012) (noting that, in

reviewing a sufficiency of evidence claim, courts “examine the totality of the evidence, both direct

and circumstantial” (quoting United States v. Starnes, 583 F.3d 196, 206 (3d Cir. 2009)))

(quotations omitted). Thus, “[t]he question is whether all the pieces of evidence against the

defendant, taken together, make a strong enough case to let a jury find him guilty beyond a

reasonable doubt.” Caraballo-Rodriguez, 726 F.3d at 432 (quoting United States v. Cooper, 567

F.2d 252, 254 (3d Cir. 1977)) (quotations omitted). It is “immaterial” that the evidence may permit

a “less sinister conclusion” than one of guilt. Smith, 294 F.3d at 478 (quoting United States v. Dent,

149 F.3d 180, 188 (3d Cir. 1998)) (quotations omitted). In other words, “the evidence does not

need to be inconsistent with every conclusion save that of guilt.” Id. (quoting Dent, 149 F.3d at

188) (quotations omitted).

       With regard to Count 1 of the Indictment—conspiracy to possess with intent to distribute

more than five kilograms of cocaine—the Third Circuit Model Jury Instructions provide that the

Government must prove the following three elements: (1) that two or more persons agreed to

possess with the intent to distribute a controlled substance; (2) that the defendant was a party to or

member of that agreement; and (3) that the defendant joined the agreement or conspiracy knowing

of its objectives to possess with the intent to distribute a controlled substance and intending to join

together with at least one other alleged conspirator to achieve that objective; that is, that the



                                                  4
Case: 1:16-cr-00009-WAL-EAH            Document #: 1143         Filed: 11/22/17     Page 5 of 24




defendant and at least one other alleged conspirator shared a unity of purpose, and the intent to

achieve that objective. Third Circuit Model Jury Instruction 6.21.846B.

       While the Government must establish each element beyond a reasonable doubt, “[i]t may

do so with direct or circumstantial evidence.” Caraballo-Rodriguez, 726 F.3d at 425. “Indeed, the

very nature of the crime of conspiracy is such that it often may be established only by indirect and

circumstantial evidence.” United States v. Brodie, 403 F.3d 123, 134 (3d Cir. 2005). The Third

Circuit has noted that “[t]he existence of a conspiracy can be inferred from evidence of related

facts and circumstances from which it appears as a reasonable and logical inference, that the

activities of the participants could not have been carried on except as the result of a preconceived

scheme or common understanding.” United States v. Mark, 533 F. App’x 83, 85 (3d Cir. 2013)

(quoting Brodie, 403 F.3d at 134) (quotations and ellipses omitted). Nonetheless, “[c]ircumstantial

inferences drawn from the evidence must bear a ‘logical or convincing connection to established

fact.’” Caraballo-Rodriguez, 726 F.3d at 425 (quoting United States v. Cartwright, 359 F.3d 281,

291 (3d Cir. 2004)).

       As to Counts 4, 5, and 6 in the Indictment—attempted possession with the intent to

distribute more than five kilograms of cocaine—the Government must prove: (1) that the defendant

intended to commit the crime of possession of cocaine with intent to distribute; and (2) that the

defendant performed an act constituting a substantial step toward the commission of possession of

cocaine with intent to distribute which strongly corroborates or confirms that the defendant

intended to commit that crime. Third Circuit Model Jury Instruction 7.01; see also United States

v. Earp, 84 Fed. App’x. 228, 232-34 (3d Cir 2004). To prove the crime of possession with intent

to distribute, the Government must prove that the defendant “(1) knowingly possessed [the]

controlled substance with (2) the intent to distribute it.” United States v. Iglesias, 535 F.3d 150,



                                                 5
Case: 1:16-cr-00009-WAL-EAH            Document #: 1143         Filed: 11/22/17     Page 6 of 24




156 (3d Cir. 2008) (quoting United States v. Bobb, 471 F.3d 491, 497 (3d Cir. 2006)) (quotations

omitted). Intent to distribute may be inferred from the quantity of the drug possessed by the

defendant. United States v. Rodriguez, 961 F.2d 1089, 1092 (3d Cir. 1992) (“When a defendant is

found in possession of a sufficiently large quantity of drugs, an intent to distribute may logically

be inferred from the quantity of drugs alone.”).

                                       III.    ANALYSIS

       A.      Evidence Adduced at Trial

       The following evidence, pertinent to Defendant Anibal Vega-Arizmendi’s Motions, was

elicited at trial. All of the evidence is based on the testimony of the witnesses and/or grounded in

exhibits introduced by the Government.

       On April 19, 2012, Gregory DeFelice, an agent with the United States Customs and Border

Patrol, stopped a vessel heading to St. Thomas. Six individuals, including Defendant Sergio

Quinones-Davila and Lacen Santiago were on the vessel. Also on the vessel was over $400,000 in

cash, some of which Defendant Quinones-Davila claimed. Department of Homeland Security

Special Agent Louis Penn testified that Defendant Quinones-Davila told him that he was coming

to St. Thomas with friends to shop for jewelry and other items and that he would stay wherever

his friends were staying.

       Timothy Schoenbohm testified that around August 2014 he met Defendant Jose Hodge and

they began to plan a “job” in which they would use Schoenbohm’s boat to meet with another boat

south of St. Croix to collect a load of cocaine. 4 Schoenbohm learned that the job was for Defendant




4
 According to the evidence, Schoenbohm was initially a member of the alleged drug organization
until November 13, 2014, when he agreed to become a Government confidential source after he
was stopped by police following an unsuccessful attempt to retrieve drugs and found to be in
unlawful possession of a gun.
                                                   6
Case: 1:16-cr-00009-WAL-EAH           Document #: 1143       Filed: 11/22/17     Page 7 of 24




Quinones-Davila. Schoenbohm and Defendant Quinones-Davila exchanged texts prior to the job

in which Defendant Quinones-Davila encouraged Schoenbohm and assured Schoenbohm of

Defendant Quinones-Davila’s belief that Schoenbohm was “good.” Schoenbohm testified that he

and Defendant Hodge went out to sea and successfully retrieved 35 kilograms of cocaine.

Schoenbohm further testified that approximately a week after he and Defendant Hodge retrieved

the cocaine, Defendant Quinones-Davila traveled to St. Croix and met with Defendant Hodge and

Schoenbohm. At the meeting, Defendant Quinones-Davila shook Schoenbohm’s hand, told him

“good job,” and that there was a lot more work to do.

       According to Schoenbohm, in October 2014, Schoenbohm and Defendant Hodge began

preparations for another job—this time for the retrieval of 71 kilograms of cocaine. Some of the

cocaine was for Defendant Hodge and some was for Defendant Quinones-Davila. Defendant

Hodge and Schoenbohm made the first trip out to sea to pick up the drugs, but they were

unsuccessful. Later, Defendant Anibal Vega-Arizmendi, Defendant Hodge, and Jean Cruz made a

second trip out to sea, which was also unsuccessful. On the third trip, Schoenbohm, Defendant

Anibal Vega-Arizmendi, and Cruz went out to sea and successfully retrieved the drugs.

       Schoenbohm also testified that in early November 2014, Defendant Hodge contacted him

about another job in which they would go 65 nautical miles south of St. Croix to retrieve

approximately 80 kilograms of cocaine. About one week before Schoenbohm and Defendant

Hodge attempted the job, Defendant Gutierrez-Calderon, Schoenbohm, Defendant Anibal Vega-

Arizmendi, and Cruz were at a hotel together. While there, Defendant Gutierrez-Calderon gave

Schoenbohm a gun so that Schoenbohm would have protection while he was out on the ocean

retrieving drugs. When Schoenbohm and Defendant Hodge ultimately went out to sea to try to

retrieve the 80 kilograms of cocaine they were unsuccessful. The next day, Defendant Hodge



                                               7
Case: 1:16-cr-00009-WAL-EAH            Document #: 1143        Filed: 11/22/17   Page 8 of 24




indicated to Schoenbohm that he did not want to go out to sea to make another attempt that day

and that they should relax for a week. Defendant Quinones-Davila called Schoenbohm and asked

if he could go out by himself to make another attempt, but he refused.

       Schoenbohm further testified as to another job that occurred in December 2014.

Schoenbohm was on St. Thomas when Defendant Hodge contacted him about using

Schoenbohm’s boat to do a job. Defendant Hodge arranged to have Cruz and Gamalier Rohlsen

pick up Schoenbohm in St. Thomas and transport him by boat to St. Croix. Once on St. Croix,

Schoenbohm observed Defendant Anibal Vega-Arizmendi, Defendant Jean Carlos Vega-

Arizmendi, Cruz, and Rohlsen at Chenay Bay. The morning after he arrived on St. Croix,

Schoenbohm prepared his boat to go out to sea to retrieve 30 kilograms of cocaine. When

Schoenbohm launched his boat, Cruz and Defendant Anibal Vega-Arizmendi left with the boat

and later returned to Chenay Bay. Although Schoenbohm had to go back to St. Thomas, Defendant

Omy Gutierrez-Calderon asked Schoenbohm to use Schoenbohm’s boat to make another attempt

to retrieve drugs, and Schoenbohm agreed. Schoenbohm later learned from Rohlsen that 30

kilograms of cocaine were picked up with Schoenbohm’s boat and were transported to Culebra.

       According to Schoenbohm, in late April or early May 2015, Defendant Hodge and

Schoenbohm discussed an upcoming job to retrieve drugs. Defendant Hodge indicated that he

would use either Defendant Anibal Vega-Arizmendi or Cruz for the job. In May 2015,

Schoenbohm and Drug Enforcement Administration (“DEA”) Agent Jeremy Latchman observed

a boat known as the Mako flipped over at Chenay Bay. Schoenbohm also observed Defendant

Gutierrez-Calderon, Defendant Hodge, and Defendant Anibal Vega-Arizmendi present at Chenay

Bay. Defendant Anibal Vega-Arizmendi was trying to flip the Mako back over, and Defendant

Gutierrez-Calderon told Schoenbohm, “look, we have mucho problems.”



                                                8
Case: 1:16-cr-00009-WAL-EAH             Document #: 1143       Filed: 11/22/17      Page 9 of 24




          The Government introduced audio recorded conversations that took place between

Schoenbohm and Defendant Quinones-Davila in November 2015 in which Defendant Quinones-

Davila asked Schoenbohm whether his boat was ready and told him not to go anywhere. Soon

thereafter, Defendant Hodge called Schoenbohm and told Schoenbohm to meet him and others at

the Pueblo Supermarket parking lot. After Defendant Hodge called Schoenbohm, Defendant

Quinones-Davila called Schoenbohm and asked “I surprise you – eh?” Schoenbohm testified that

he was, in fact, surprised because the other people Defendant Hodge wanted him to meet at Pueblo

Supermarket had suddenly showed up in St. Croix from Puerto Rico. When Schoenbohm went to

the parking lot, he saw Defendant Hodge, Defendant Anibal Vega-Arizmendi, and Cruz.

Schoenbohm learned that that they were doing a job for Defendant Quinones-Davila, but

Schoenbohm was instructed not to tell Defendant Hodge that the job was for Defendant Quinones-

Davila.

          Schoenbohm, Defendant Anibal Vega-Arizmendi, Cruz, and Juan later went out on the first

of several attempts to obtain drugs, but because of rough seas they returned without retrieving the

drugs. Afterwards, Schoenbohm, Defendant Hodge, Defendant Anibal Vega-Arizmendi, Cruz, and

others were at a hotel where they discussed making a second attempt, and Defendant Hodge

assured Schoenbohm that an individual identified as Danny was a good captain and could drive

Schoenbohm’s boat. The next day, Schoenbohm launched his boat and let others take it on another

attempt, but the attempt was again unsuccessful. Schoenbohm testified that Danny, Juan, and

Defendant Anibal Vega-Arizmendi later used a green Spider boat on another unsuccessful attempt.

As to this attempt, the Government introduced video surveillance of the Spider allegedly returning

from the unsuccessful attempt and Defendant Anibal Vega-Arizmendi getting out of the boat and

climbing into Schoenbohm’s pickup truck at Great Pond on St. Croix. The Government also



                                                 9
Case: 1:16-cr-00009-WAL-EAH           Document #: 1143         Filed: 11/22/17     Page 10 of 24




introduced evidence that Defendant Gutierrez-Calderon sent money to Schoenbohm on November

12, 2015, via Western Union so that Schoenbohm could fuel his boat for a subsequent attempt to

retrieve drugs.

       On the last attempt, Schoenbohm met Defendant Hodge, Defendant Burgos-Montanez,

Rohlsen, and Danny on a beach where Rohlsen, Danny, and Defendant Burgos-Montanez boarded

Schoenbohm’s boat and headed east. Schoenbohm and Defendant Hodge got into a minivan and

drove away. DEA Task Force Officer Aldemar Santos testified that at about 2:00 a.m. the next

morning, he arrived at Knight’s Bay and saw Defendant Hodge being detained by another officer.

TFO Santos walked along the beach with his flashlight and observed Rohlsen, Defendant Burgos-

Montanez, and an unidentified male conversing with each other. When TFO Santos announced

“police,” two of the three men ran. Law enforcement officers were able to detain two men and

discovered four suitcases nearby. It was later determined that the suitcases collectively contained

87 kilograms of cocaine. Later that same morning, TFO Santos observed a man walking along the

road and recognized him as the third male who had been on the beach earlier that morning. TFO

Santos apprehended the man and later identified him as Defendant Burgos-Montanez.

       After the arrest of Defendant Hodge, Defendant Burgos-Montanez, and Rohlsen,

Defendant Quinones-Davila had a conversation with Schoenbohm. During the conversation,

Defendant Quinones-Davila inquired about the whereabouts of Danny and told Schoenbohm that

Schoenbohm’s and Danny’s names were being called. Schoenbohm understood this to mean that

the individuals in jail were accusing him and Danny of setting them up.

       After Defendant Anibal Vega-Arizmendi was arrested, he informed officers that he knew

a person named “Tim” and then identified Schoenbohm as Tim in a photograph. Defendant Anibal

Vega-Arizmendi stated that he had traveled to St. Croix to hang out with Tim and check out girls.



                                                10
Case: 1:16-cr-00009-WAL-EAH            Document #: 1143        Filed: 11/22/17      Page 11 of 24




       B.      Count 4

       Count 4 charges that on or about December 13, 2014, and December 14, 2014, Defendant

Anibal Vega-Arizmendi and others, while aiding and abetting each other, did knowingly and

intentionally attempt to possess, with intent to distribute more than five kilograms of a mixture

and substance containing a detectible amount of cocaine hydrochloride. (Dkt. No. 190 at 12). The

Court finds that the Government introduced sufficient evidence for a rational juror to find

Defendant Anibal Vega-Arizmendi guilty of Count 4 beyond a reasonable doubt.

       To meet its burden of proof regarding Count 4, the Government was required to prove the

following two elements beyond a reasonable doubt: (1) that Defendant Anibal Vega-Arizmendi

intended to commit the crime of possession of more than five kilograms of cocaine with intent to

distribute; and (2) that Defendant Anibal Vega-Arizmendi performed an act constituting a

substantial step toward the commission of possession of cocaine with intent to distribute which

strongly corroborates or confirms that Defendant Anibal Vega-Arizmendi intended to commit that

crime. Third Circuit Model Jury Instruction 7.01; see also United States v. Earp, 84 Fed. App’x.

at 232-34.

       As relevant to Count 4, Schoenbohm testified that Defendant Hodge contacted

Schoenbohm about using his boat to perform a job (cocaine retrieval) and that Schoenbohm

traveled from St. Thomas to St. Croix for purposes of preparing his boat for the job. Schoenbohm

also testified that he saw Defendant Anibal Vega-Arizmendi, Defendant Jean Carlos Vega-

Arizmendi, Cruz, and Rohlsen at Chenay Bay when Schoenbohm arrived; that after he prepared

his boat to do the job, Cruz and Defendant Anibal Vega-Arizmendi left with the boat; and that

after an additional trip, the alleged coconspirators successfully picked up 30 kilograms of cocaine.

This is evidence from which a rational juror could conclude beyond a reasonable doubt that



                                                11
Case: 1:16-cr-00009-WAL-EAH           Document #: 1143       Filed: 11/22/17     Page 12 of 24




Defendant Anibal Vega-Arizmendi intended to possess cocaine with the intent to distribute, and

took a substantial step—departing in Schoenbohm’s boat with another alleged coconspirator—to

achieve this goal. Accordingly, in view of the foregoing and with the Court’s rejection of

Defendant Anibal Vega-Arizmendi’s contrary arguments, as discussed in Section III.F below, the

Rule 29 Motions as to Count 4 will be denied.

       C.     Count 5

       Count 5 charges that on or about May 14, 2015, Defendant Anibal Vega-Arizmendi and

others, while aiding and abetting each other, did knowingly and intentionally attempt to possess,

with intent to distribute more than five kilograms of a mixture and substance containing a

detectible amount of cocaine hydrochloride. (Dkt. No. 190 at 13). Unlike Count 4, the Court finds

that the Government did not introduce sufficient evidence for a rational juror to find Defendant

Anibal Vega-Arizmendi guilty of Count 5 beyond a reasonable doubt.

       To meet its burden of proof regarding Count 5, the Government was required to prove

beyond a reasonable doubt the same two elements as in Count 4. In this regard, the Government

introduced evidence of a telephone call between Schoenbohm and Defendant Hodge regarding an

upcoming job for which Defendant Hodge stated that Defendant Anibal Vega-Arizmendi might

be used. The Government also presented testimony that in May 2015, the Mako flipped over at

Chenay Bay. Schoenbohm observed Defendant Gutierrez-Calderon, Defendant Hodge, and

Defendant Anibal Vega-Arizmendi present at Chenay Bay where the Mako was flipped over;

Defendant Gutierrez-Calderon told Schoenbohm, “look, we have mucho problems”; and

Schoenbohm observed Defendant Anibal Vega-Arizmendi trying to flip the Mako back over. 5 In



5
 There is also testimony from DEA Task Force Officer Peter Kalme that after Defendant Jean
Carlos Vega-Arizmendi’s arrest, he confessed that he was in St Croix during the summer of 2015
when the Mako flipped over, and that he had brought a gas tank for the Mako for the purpose of
                                                12
Case: 1:16-cr-00009-WAL-EAH             Document #: 1143          Filed: 11/22/17      Page 13 of 24




addition to this evidence specific to Count 5, the Court acknowledges that the evidence of

Defendant Anibal Vega-Arizmendi’s involvement in other events may be used as evidence of

motive, opportunity, intent, preparation, plan, knowledge, identity, absence of mistake, or lack of

accident, pursuant to Rule 404(b) of the Federal Rules of Evidence.

        Even after considering—as the Court must—the “totality of the evidence, both direct and

circumstantial, and interpret[ing] the evidence in the light most favorable to the government” the

Court finds that a rational juror could not find beyond a reasonable doubt that Defendant Anibal

Vega-Arizmendi is guilty of Count 5. Pavulak, 700 F.3d at 668. There is insufficient evidence

tying Defendant Hodge’s earlier telephone call with Schoenbohm to the incident of the Mako

flipping over and Defendant Anibal Vega-Arizmendi’s presence at Chenay Bay. Even with

Defendant Gutierrez-Calderon’s statement that they have “mucho problems,” a rational juror could

not conclude beyond a reasonable doubt that Defendant Anibal Vega-Arizmendi and others were

intending to use the Mako to retrieve drugs. That individuals appear concerned about a capsized

boat fails to adequately support the inference that the boat was to be used to retrieve cocaine.

Similarly, there is no evidence that any individual took a substantial step to possess cocaine with

the intent to distribute. The fact that individuals were trying to flip the Mako back over is consistent

with efforts to save the boat and, without more, is insufficient for a rational juror to find that those




retrieving a load of cocaine. However, this post-arrest statement from Defendant Jean Carlos Vega-
Arizmendi is inadmissible hearsay as against Defendant Anibal Vega-Arizmendi and cannot be
used for purposes of the current analysis. See Fed. R. Evid. 801(d)(2)(E). It is clear that Defendant
Jean Carlos Vega-Arizmendi did not believe that TFO Kalme was a member of the conspiracy and
that the post-arrest confession was not made for the purpose of concealing or otherwise furthering
the conspiracy. See United States v. Gibbs, 739 F.2d 838, 845 (3d Cir. 1984) (noting generally that
“statements made to those who are not involved in the conspiracy are not ‘in furtherance’ of it”)
(quoting United States v. Provenzano, 620 F.2d 985, 1000-01 (3d Cir. 1980)); cf. United States v.
Weaver, 507 F.3d 178, 186 (3d Cir. 2007) (“statements made for the purpose of concealing a
conspiracy can further the conspiracy regardless of whether the addressee is a co-conspirator”).
                                                  13
Case: 1:16-cr-00009-WAL-EAH             Document #: 1143         Filed: 11/22/17      Page 14 of 24




attempting to save the boat were taking a substantial step towards possessing cocaine with the

intent to distribute. Simply put, there is insufficient admissible evidence against Defendant Anibal

Vega-Arizmendi from which a rational juror could conclude that he committed the essential

elements of attempted possession of cocaine with intent to distribute, or aided and abetted someone

else in committing the crime as charged in Count 5. Accordingly, in view of the, the Rule 29

Motions as to Count 5 will be granted.

       D.      Count 6

       Count 6 charges that on or about November 9, 2015 through November 12, 2015,

Defendant Anibal Vega-Arizmendi and others, while aiding and abetting each other, did

knowingly and intentionally attempt to possess, with intent to distribute more than five kilograms

of a mixture and substance containing a detectible amount of cocaine hydrochloride. (Dkt. No. 190

at 14). The Court finds that the Government introduced sufficient evidence for a rational juror to

find Defendant Anibal Vega-Arizmendi guilty of Count 6 beyond a reasonable doubt.

       To meet its burden of proof regarding Count 6, the Government was required to prove

beyond a reasonable doubt the same two elements as in Counts 4 and 5. In this regard, the

Government introduced sufficient evidence that Defendant Anibal Vega-Arizmendi attempted to

possess cocaine between November 9, 2015 and November 12, 2015. For example, Schoenbohm

testified that Defendant Anibal Vega-Arizmendi was present at the meeting in the Pueblo parking

lot with Defendant Hodge at which another individual instructed Schoenbohm not to tell Defendant

Hodge that the anticipated job was for Defendant Quinones-Davila. Schoenbohm further testified

that Schoenbohm, Juan, and Defendant Anibal Vega-Arizmendi went together on the first attempt

to retrieve the drugs but returned due to rough seas. This testimony is sufficient for a rational juror

to find beyond a reasonable doubt that Defendant Anibal Vega-Arizmendi intended to possess



                                                  14
Case: 1:16-cr-00009-WAL-EAH            Document #: 1143        Filed: 11/22/17      Page 15 of 24




cocaine with intent to distribute and that he performed a substantial step toward the commission

of this crime by going out on the boat with Schoenbohm and Juan in an attempt to retrieve the

cocaine. Accordingly, in view of the foregoing and with the Court’s rejection of Defendant Anibal

Vega-Arizmendi’s contrary arguments, as discussed in Section III.F below, the Rule 29 Motions

as to Count 6 will be denied.

       E.      Count 1

       Count 1 charges that from on or about January 2012 until on or about December 2015,

Defendant Anibal Vega-Arizmendi and others did conspire and agree with one another to

knowingly and intentionally possess, with intent to distribute, more than five kilograms of cocaine.

The Court finds that the Government introduced sufficient evidence for a rational juror to find

Defendant Anibal Vega-Arizmendi guilty of Count 1 beyond a reasonable doubt.

       To meet its burden of proof regarding Count 1, the Government was required to prove

beyond a reasonable doubt the following three elements: (1) that two or more persons agreed to

possess cocaine or marijuana with the intent to distribute it; (2) that Defendant Anibal Vega-

Arizmendi was a party to or a member of that agreement; and (3) that Defendant Anibal Vega-

Arizmendi joined the agreement or conspiracy knowing of its objective to possess cocaine or

marijuana with the intent to distribute it and intending to join together with at least one other

alleged conspirator to achieve that objective; that is, that Defendant Anibal Vega-Arizmendi and

at least one other alleged conspirator shared a unity of purpose and the intent to achieve the

objective. See Third Circuit Model Jury Instruction 6.21.846B.

       The Court finds that the Government introduced sufficient evidence from which a rational

juror could conclude that Defendant Anibal Vega-Arizmendi conspired with others to possess

more than five kilograms of cocaine with intent to distribute. As noted above, Schoenbohm



                                                15
Case: 1:16-cr-00009-WAL-EAH            Document #: 1143         Filed: 11/22/17      Page 16 of 24




testified that in October 2014 he and Defendant Hodge discussed a job in which they would retrieve

71 kilograms of cocaine. Some of the cocaine was for Defendant Hodge and some was for

Defendant Quinones-Davila. Schoenbohm further testified that Defendant Anibal Vega-

Arizmendi went on two trips out to sea in an attempt to retrieve the cocaine. The first trip, made

by Defendant Anibal Vega-Arizmendi, Defendant Hodge, and Cruz, was unsuccessful, but on the

second trip, Schoenbohm, Defendant Anibal Vega-Arizmendi, and Cruz successfully retrieved the

drugs.

         Schoenbohm also testified that in December 2014, at the direction of Defendant Hodge, he

came to St. Croix to prepare his boat for another job to pick up 30 kilograms of cocaine.

Schoenbohm testified that, after he had prepared his boat for the job, Defendant Anibal Vega-

Arizmendi and Cruz left with his boat. Schoenbohm later learned that cocaine was retrieved on

another attempt.

         Schoenbohm further testified that in November 2015, Schoenbohm, Juan, and Defendant

Anibal Vega-Arizmendi together went out to pick up drugs but returned due to rough seas.

Afterwards, Schoenbohm, Defendant Hodge, Defendant Anibal Vega-Arizmendi, Cruz, and others

were at a hotel together talking about going out to make a second attempt.

         Based on this evidence, a rational juror could find beyond a reasonable doubt that

Defendant Hodge, Defendant Quinones-Davila, Defendant Anibal Vega-Arizmendi, and others

knowingly and intentionally arrived at a mutual understanding to work together to possess more

than five kilograms of cocaine with the intent to distribute it. While there is no direct evidence of

a formal agreement to engage in cocaine trafficking, there is sufficient evidence that multiple

people worked together so that boats from St. Croix would meet with other vessels south of St.

Croix to retrieve cocaine. Indeed, Schoenbohm testified that he and Defendant Anibal Vega-



                                                 16
Case: 1:16-cr-00009-WAL-EAH            Document #: 1143         Filed: 11/22/17      Page 17 of 24




Arizmendi were on such trips, including one in which they successfully retrieved 71 kilograms of

cocaine. Based on the circumstances surrounding the scheme and the actions of Defendant Anibal

Vega-Arizmendi and other alleged coconspirators, a rational jury could find beyond a reasonable

doubt that a conspiracy existed and that Defendant Anibal Vega-Arizmendi was one of its

members. Mark, 533 F. App’x at 85 (“[t]he existence of a conspiracy can be inferred from evidence

of related facts and circumstances from which it appears as a reasonable and logical inference, that

the activities of the participants could not have been carried on except as the result of a

preconceived scheme or common understanding” (quoting Brodie, 403 F.3d at 134)) (quotations

and ellipses omitted).

       There is also sufficient evidence that Defendant Anibal Vega-Arizmendi joined in the

conspiracy knowing of its criminal objective and intending to join together with at least one other

alleged conspirator to achieve that objective. Schoenbohm testified that in October 2014,

Defendant Anibal Vega-Arizmendi made two trips on Schoenbohm’s boat, during the second of

which they successfully picked up 71 kilograms of cocaine. The evidence further shows that

Defendant Anibal Vega-Arizmendi took additional trips on Schoenbohm’s boat with other alleged

coconspirators in connection with jobs in December 2014 and November 2015. From this

evidence, a rational juror could reasonably infer that Defendant Anibal Vega-Arizmendi knew of

the conspiracy’s objective to possess with the intent to distribute controlled substances at least by

October 2014 when he helped successfully retrieve 71 kilograms of cocaine. The later trips

Defendant Anibal Vega-Arizmendi made in December 2014 and November 2015 are evidence

that, knowing of the conspiracy’s objective, he intended to join with other alleged coconspirators

and shared a unity of purpose when he went out to sea in an attempt to retrieve more cocaine.




                                                 17
Case: 1:16-cr-00009-WAL-EAH            Document #: 1143        Filed: 11/22/17      Page 18 of 24




       The Court therefore finds that the Government introduced sufficient evidence from which

a rational juror could find beyond a reasonable doubt that Defendant Anibal Vega-Arizmendi is

guilty of Count 1. Accordingly, in view of the foregoing and with the Court’s rejection of

Defendant Anibal Vega-Arizmendi’s contrary arguments, as discussed in Section III.F below, the

Rule 29 Motions as to Count 1 will be denied.

       F.      Defendant Anibal Vega-Arizmendi’s Arguments

       In his Motions, Defendant Anibal Vega-Arizmendi makes several arguments urging the

Court to conclude that the Government has presented insufficient evidence to carry its burden as

to each Count. Many of these arguments are based on Defendant Anibal Vega-Arizmendi’s

assertion that the Court cannot consider Schoenbohm’s testimony because it is unreliable and

uncorroborated. For example, Defendant Anibal Vega-Arizmendi argues that “[f]or all the

evidence offered by Schoenbohm, there was nothing to corroborate his testimony beyond a

reasonable doubt,” and that “[o]ther than the unreliable testimony of Schoenbohm, there was no

proof offered by the government to suggest, even remotely, that Mr. Arizmendi knew or worked

with any of the other alleged codefendants in a close interdependent capacity to possess or

distribute drugs.” (Dkt. No. 1067 at 4; 6 see also Dkt. No. 1068 at 12 (“the incredible testimony of

Confidential Source, Timothy Schoenbohm, should not be given any weight”)). The Court finds

that Defendant Anibal Vega-Arizmendi’s arguments in this regard do not advance his Rule 29

Motions.

       The Third Circuit has cautioned that “[c]ourts must be ever vigilant in the context of Fed.

R. Crim. P. 29 not to usurp the role of the jury by weighing credibility and assigning weight to the




6
 Of course, by so arguing, Defendant Anibal Vega-Arizmendi implicitly acknowledges that the
Government offered sufficient evidence through Schoenbohm’s testimony.
                                                18
Case: 1:16-cr-00009-WAL-EAH              Document #: 1143         Filed: 11/22/17       Page 19 of 24




evidence, or by substituting its judgment for that of the jury.” Brodie, 403 F.3d at 133. In particular,

the Third Circuit has noted that “[i]t is not for the court to assess the credibility of witnesses, weigh

the evidence or draw inferences of fact from the evidence. These are functions of the jury.” Id.

(quoting 2A Charles A. Wright, Fed. Prac. & Pro. (Criminal 3d) § 467 at 311 (2000)) (quotations

omitted). In light of this directive, the Court rejects Defendant Anibal Vega-Arizmendi’s assertion

that the Court should disregard the testimony of Schoenbohm as unreliable or uncorroborated.

Indeed, even if Schoenbohm’s testimony were entirely uncorroborated—which the Court does not

find to be the case—this would be irrelevant for purposes of Defendant Anibal Vega-Arizmendi’s

Rule 29 Motions. The standard is “whether, after viewing the evidence in the light most favorable

to the prosecution, any rational trier of fact could have found the essential elements of the crime

beyond a reasonable doubt.” McIntyre, 612 F. App’x at 78 (quoting Caraballo-Rodriguez, 726

F.3d at 424-25) (quotations omitted) (emphasis in original). As set forth above, the Government

has met this standard as to Defendant Anibal Vega-Arizmendi on Counts 1, 4, and 6. The Court

will decline Defendant Anibal Vega-Arizmendi’s invitation to ignore the applicable legal standard

and usurp the role of the jury. 7



7
  Defendant Anibal Vega-Arizmendi makes the similar argument that the Government’s evidence
fails to definitively prove Defendant Anibal Vega-Arizmendi’s guilt: “The government’s
confidential source, Timothy Schoenbohm and DEA Agent, Brian Gaumond testified about the
objective of the conspiracy but neither their testimony, nor the documentary and visual evidence
definitively confirms that Mr. Arizmendi was involved in the possession of a controlled substance
with the intention to sell.” (Dkt. No. 1067 at 3). The standard, however, is not whether the
Government’s evidence “definitively confirms” Defendant Anibal Vega-Arizmendi’s guilt.
Indeed, the Third Circuit has made clear that “the evidence does not need to be inconsistent with
every conclusion save that of guilt.” Smith, 294 F.3d at 478 (quoting Dent, 149 F.3d at 188)
(quotations omitted). As discussed more fully above, in accordance with the applicable legal
standard, a rational juror could find beyond a reasonable doubt that Defendant Anibal Vega-
Arizmendi conspired, and attempted, to possess cocaine with an intent to distribute based on, inter
alia, Schoenbohm’s testimony that Defendant Anibal Vega-Arizmendi took multiple trips on
Schoenbohm’s boat with others in connection with jobs in which the common goal was to retrieve
large amounts of cocaine.
                                                   19
Case: 1:16-cr-00009-WAL-EAH            Document #: 1143         Filed: 11/22/17      Page 20 of 24




       Some of Defendant Anibal Vega-Arizmendi’s other arguments are also premised on

mistaken interpretations of the law. First, Defendant Anibal Vega-Arizmendi argues that in order

to find him guilty of conspiracy, there must be sufficient evidence from which the trier of fact

could find, inter alia, that “one of the members of the conspiracy performed at least one overt act

2012 [sic] for the purpose of carrying out the conspiracy.” (Dkt. No. 1068 at 5; see also id. at 11).

Although there is ample evidence of overt acts here, the law is clear that “[t]he language of [21

U.S.C. § 846 does not] require that an overt act be committed to further the conspiracy.” United

States v. Shabani, 513 U.S. 10, 13 (1994).

       In addition, Defendant Anibal Vega-Arizmendi cites United States v. Idowu, 157 F.3d 265

(3d Cir. 1998), United States v. Cartwright, 359 F.3d 281 (3d Cir. 2004), United States v.

Rodriquez-Valdez, 209 F. App’x 178, 179 (3d Cir. 2006), and other cases as examples in which

the Third Circuit has overturned convictions for drug conspiracies because the Government failed

to introduce sufficient evidence that the defendant knew that the conspiracy’s objective was

controlled substances. (Dkt. No. 1068 at 6-7). However, in the case of United States v. Caraballo-

Rodriguez, 726 F.3d 418, 431-32 (3d Cir. 2013), the Third Circuit abrogated the reasoning in

Idowu, Cartwright, and Rodriquez-Valdez. 8 The Third Circuit noted that in the area of drug

conspiracy cases, “it appears that we have examined sufficiency by looking at the evidence under

a microscope.” Id. at 430. The Third Circuit concluded that it had not analyzed these cases with

the appropriate amount of deference and noted that “[h]ad we asked the appropriate question—



8
  While the Third Circuit in Caraballo-Rodriguez did not specifically disavow the case of
Rodriquez-Valdez, this is not surprising since Rodriquez-Valdez is a non-precedential case.
Regardless, the Court notes that many of the cases on which Rodriquez-Valdez relies—including
Cartwright, Idowu, and United States v. Wexler, 838 F.2d 88, 91 (3d Cir. 1988)—were expressly
disavowed in Caraballo-Rodriguez. 726 F.3d at 431-32. In other words, Rodriquez-Valdez stems
from the same line of cases and uses the same reasoning that the Third Circuit disavowed in
Caraballo-Rodriguez.
                                                 20
Case: 1:16-cr-00009-WAL-EAH            Document #: 1143        Filed: 11/22/17      Page 21 of 24




‘whether ... any rational trier of fact could have found the essential elements of the crime beyond

a reasonable doubt’—we now believe the answer in most, if not all, of those cases would have

been ‘yes.’” Id. at 431 (quoting Jackson v. Virginia, 443 U.S. 307, 319 (1979) (ellipses and

emphasis in original). In so holding, the Third Circuit “specifically disavow[ed] the reasoning [it]

previously embraced—that the jury’s verdict could not stand when the evidence was as consistent

with contraband other than controlled substances, even though a jury could rationally conclude

that the defendant knew the subject of the conspiracy was drugs.” Id. at 431-32.

       Thus, Defendant’s reliance on cases such as Idowu, Cartwright, and Rodriquez-Valdez for

his proposition that the Government failed to sufficiently prove that Defendant knew that the

conspiracy’s objective was controlled substances is misplaced. Following Caraballo-Rodriguez,

the Court examines whether “any rational trier of fact could have found the essential elements of

the crime beyond a reasonable doubt.” Id. at 431 (quoting Jackson, 443 U.S. at 319) (quotations

omitted) (emphasis in original). As discussed above, under this standard, the Court finds that the

Government met its burden as to the conspiracy charge in Count 1.

       Defendant Anibal Vega-Arizmendi also argues that Schoenbohm’s testimony placing him

in a hotel room with other coconspirators in November 2015 after a failed attempt to retrieve

cocaine is of little evidentiary value. Schoenbohm testified that Defendant Hodge, Defendant

Anibal Vega-Arizmendi, Cruz, and others were at a hotel talking about going out to make a second

attempt, and Defendant Hodge assured Schoenbohm that Danny was a good captain and could

drive Schoenbohm’s boat. Defendant Anibal Vega-Arizmendi argues that “because you are in a

room with individuals do [sic] not mean you are privy to the conversation and no testimony was

provided that the triers of facts could make such a determination.” (Dkt. No. 1068 at 10). Defendant

Anibal Vega-Arizmendi further argues that there was no testimony indicating that Defendant



                                                21
Case: 1:16-cr-00009-WAL-EAH            Document #: 1143        Filed: 11/22/17      Page 22 of 24




Anibal Vega-Arizmendi understood what was being said, was an active participant in the

conversation, or was even within earshot of the conversation. (Id.). The Court finds this argument

to be unavailing in the Rule 29 context. 9

       The Third Circuit has noted in the Rule 29 context that “the contention that the evidence

also permits a less sinister conclusion is immaterial” and that “the evidence does not need to be

inconsistent with every conclusion save that of guilt.” Smith, 294 F.3d at 478 (quoting Dent, 149

F.3d at 188) (quotations omitted). At trial, Schoenbohm testified that before the hotel conversation

took place, he, Juan, and Defendant Anibal Vega-Arizmendi together went out on an attempt to

retrieve drugs but returned due to rough seas. Schoenbohm also testified that, after the hotel

conversation, Defendant Anibal Vega-Arizmendi and other alleged coconspirators later made

another unsuccessful attempt to retrieve drugs—this time, using the green Spider boat. Based on

this testimony from Schoenbohm alone, a rational juror could reasonably infer that Defendant

Anibal Vega-Arizmendi was an active participant in a conspiracy to possess cocaine with the intent

to distribute. The fact that Schoenbohm did not specifically testify as to Defendant Anibal Vega-

Arizmendi’s actual participation in the hotel conversation does not alter this conclusion. 10 See



9
   The Court also finds unavailing Defendant Anibal Vega-Arizmendi’s argument that the
Government failed to prove he was actually a boat captain: Defendant Anibal Vega-Arizmendi
“challenges . . . the Court to identify any testimony that establishes the he captained any boats at
any time in the United States Virgin Islands.” (Dkt. No. 1068 at 12). Of course, the Government
was not required to prove that Defendant Anibal Vega-Arizmendi was a boat captain in order to
meet its burden as to any of the Counts. Regardless of whether there was any testimony that
Defendant Anibal Vega-Arizmendi ever piloted a boat, the Government has presented sufficient
evidence—as discussed above—to survive Defendant’s Rule 29 challenge as to Counts 1, 4, and
6.
10
   In this regard, Defendant Anibal Vega-Arizmendi also argues that there was no trust between
the alleged coconspirators and that they actually “harbored a great deal of animosity towards each
other.” (Dkt. No. 1068 at 12). Nonetheless, there is ample evidence of the extent to which the
alleged coconspirators worked together during multiple events in an attempt to retrieve large
shipments of cocaine. As noted by the Second Circuit, it is not uncommon for disagreements to
                                                22
Case: 1:16-cr-00009-WAL-EAH            Document #: 1143        Filed: 11/22/17      Page 23 of 24




Smith, 294 F.3d at 477 (“The existence of a conspiracy can be inferred from evidence of related

facts and circumstances from which it appears as a reasonable and logical inference, that the

activities of the participants could not have been carried on except as the result of a preconceived

scheme or common understanding.” (quoting Gibbs, 190 F.3d at 197)) (quotations and ellipsis

omitted). 11

        In view of the foregoing, Defendant Anibal Vega-Arizmendi’s arguments as they relate to

Counts 1, 4, and 6 are rejected.

                                      IV.    CONCLUSION

        In sum, the Court finds that, viewing the totality of the evidence presented during trial in

the light most favorable to the Government, a rational trier of fact could have found Defendant

Anibal Vega-Arizmendi guilty beyond a reasonable doubt as to Counts 1, 4, and 6. As to these

Counts, Defendant Anibal Vega-Arizmendi’s Motions will be denied. In contrast, the Court finds




occur in a common enterprise and it is not “inconsistent with such an ongoing, unitary conspiracy
that disputes might arise and that switches in affiliation might occur from time to time.” United
States v. Aracri, 968 F.2d 1512, 1522 (2d Cir. 1992) (quoting United States v. Heinemann, 801
F.2d 86, 92 (2d Cir. 1986)) (quotations and ellipses omitted); see also United States v. Gibbs, 190
F.3d 188, 208 n.11 (noting that “[t]he fact that Gibbs suspected Sydnor of trying to rob him does
not negate our conclusion . . . that Sydnor was part of Gibbs’s conspiracy”). Thus, the alleged
animosity and lack of trust do not alter the Court’s conclusion that there was sufficient evidence
for a rational juror to find Defendant Anibal Vega-Arizmendi guilty of the Count 1 conspiracy
charge beyond a reasonable doubt.
11
   Defendant Anibal Vega-Arizmendi similarly argues that “[h]is presence on the boat—without
more—is not evidence of his knowledge of illicit activity,” (Dkt. No. 1067 at 3), and that, as it
pertains to Count 4, “there has been no testimony where anything illegal can be adduced,” (Dkt.
No. 1068 at 8). The Court acknowledges that Defendant Anibal Vega-Arizmendi cannot be guilty
of conspiracy merely because of his association with other alleged coconspirators, and that it is
not illegal to go out on a boat with others. However, the Government may meet its burden by
relying on circumstantial evidence. See Caraballo-Rodriguez, 726 F.3d at 425. For example,
Defendant Anibal Vega-Arizmendi’s knowledge of illicit activity can be inferred, inter alia, from
the evidence, including pursuant to Federal Rule of Evidence 404(b), that he went on multiple trips
to retrieve cocaine after having successfully retrieved 71 kilograms of cocaine in October 2014.
                                                23
Case: 1:16-cr-00009-WAL-EAH           Document #: 1143       Filed: 11/22/17     Page 24 of 24




that the Government has failed to present sufficient evidence from which a rational trier of fact

could have found Defendant Anibal Vega-Arizmendi guilty beyond a reasonable doubt of Count

5. Accordingly, the Court will grant Defendant Anibal Vega-Arizmendi’s Motions as to Count 5.

       An appropriate Order accompanies this Memorandum Opinion.

Date: November 22, 2017
                                                    _______/s/________
                                                    WILMA A. LEWIS
                                                    Chief Judge




                                               24
